Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Diaz Farms, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  P.O. Box 1044
                                  Parker, AZ 85344-1044
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  La Paz                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  24850 Little Road Parker, AZ 85344
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Diaz Farms, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

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Debtor   Diaz Farms, LLC                                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Diaz Farms, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 14, 2023
                                                  MM / DD / YYYY


                             X /s/ Jose Diaz                                                              Jose Diaz
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   Member




18. Signature of attorney    X /s/ Thomas H. Allen                                                         Date September 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas H. Allen 11160
                                 Printed name

                                 Allen, Jones & Giles, PLC
                                 Firm name

                                 1850 N. Central Avenue, Suite 1150
                                 Phoenix, AZ 85004
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-256-6000                  Email address      tallen@bkfirmaz.com

                                 11160 AZ
                                 Bar number and State




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AGCO FINANCE
P.O. BOX 77113
MINNEAPOLIS MN 55480-7702



AGCO FINANCE, LLC
P.O. BOX 2000
JOHNSTON IA 50131-0020



BANK OF AMERICA
P.O. BOX 982235
EL PASO TX 79998-2235



BRYN MAWR EQUIPMENT FINANCE
801 LANCASTER AVENUE
BRYN MAWR PA 19010



CALLAN OIL DISTRIBUTING, INC.
332 W. CHANSLORWAY
BLYTHE CA 92225



CNH INDUSTRIAL CAPITAL
5729 WASHINGTON AVENUE
RACINE WI 53406



COLORADO RIVER IRRIGATION PROJECT
12124 1ST AVENUE
PARKER AZ 85344



COMPTON AG SERVICES, LLC
19751 SOUTH DEFRAIN BLVD.
BLYTHE CA 92225



FINANCIAL PACIFIC LEASING, INC.
3455 SOUTH 344TH WAY, SUITE 300
AUBURN WA 98001




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FINANCIAL PACIFIC LEASING, INC.
P.O. BOX 4568
AUBURN WA 98001



FIRST FOUNDATION BANK
18101 VON KARMAN AVE., #750
IRVINE CA 92612



FIRST FOUNDATION BANK
5403 OLYMPIC DRIVE NW, SUITE 200
GIG HARBOR WA 98335



HANMI BANK
2010 MAIN ST., #590
IRVINE CA 92614



HELENA AGRI-ENTERPRISES, LLC
225 SCHILLING BLVD., SUITE 300
COLLIERVILLE TN 38017



LCA BANK CORPORATION
1441 W. UTE BLVD., #250
PARK CITY UT 84098



NEWLANE FINANCE
P.O. BOX 7358
PHILADELPHIA PA 19101-7358



NEWLANE FINANCE COMPANY
123 S. BROAD ST., 17TH FLOOR
PHILADELPHIA PA 19109



PAWNEE LEASING CORPORATION
3801 AUTOMATION WAY, #207
FORT COLLINS CO 80525




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PAWNEE LEASING CORPORATION
700 CENTRE AVENUE
FORT COLLINS CO 80526



PAWNEE LEASING CORPORATION
3801 AUTOMATION WAY, SUITE 207
FORT COLLINS CO 80525



SHEFFIELD FINANCIAL
101 N. CHERRY ST
WINSTON SALEM NC 27101



SHEFFIELD FINANCIAL
P.O. BOX 580229
CHARLOTTE NC 28258



SHEFFIELD FINANCIAL
P.O. BOX 25127
WINSTON SALEM NC 27114



US SMALL BUSINESS ADMINISTRATION
1545 HAWKINS BLVD.
SUITE 202
EL PASO TX 79925




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                                        United States Bankruptcy Court
                                                   District of Arizona
 In re   Diaz Farms, LLC                                                            Case No.
                                                           Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Diaz Farms, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 14, 2023                             /s/ Thomas H. Allen
Date                                           Thomas H. Allen 11160
                                               Signature of Attorney or Litigant
                                               Counsel for Diaz Farms, LLC
                                               Allen, Jones & Giles, PLC
                                               1850 N. Central Avenue, Suite 1150
                                               Phoenix, AZ 85004
                                               602-256-6000 Fax:602-252-4712
                                               tallen@bkfirmaz.com




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